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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                             Criminal No. 17-64 (DWF/KMM)

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )
                                            )      JOINT MOTION TO
EDWARD S. ADAMS,                            )      CONTINUE TRIAL
                                            )
                      Defendant.            )

       The United States and Edward S. Adams, through their respective and undersigned

counsel, hereby respectfully request a continuance of the currently scheduled trial in this

case until October 2019.

       The trial in this case is currently set for January 28, 2019. As the Court is well

aware, until just recently, the parties have been engaged in extensive pre-trial litigation that

began on September 28, 2017. That pre-trial litigation concerned the government’s

execution of a search warrant and whether evidence seized pursuant to that search warrant

should be suppressed, or the case dismissed or the prosecution team disqualified, due to

alleged constitutional violations and alleged government misconduct in viewing

communications claimed by Mr. Adams to be privileged.               Given the nature of the

allegations of misconduct and Mr. Adams’s claims of privilege violations, the government

has refrained since August 2017 from accessing the Relativity database that houses the

approximately 42,000 emails that were the subject of the pre-trial litigation. Among those

42,000 emails, approximately 35,000 have not previously been reviewed by the

prosecution team. With respect to the 35,000 emails, counsel for the defendant has
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informed the government that they believe that there may be a significant number of

privileged communications therein and that appropriate measures must be taken to prevent

disclosure of those privileged communications. Counsel for the government agrees that

implementing measures to prevent disclosure of privileged communications is appropriate.

Accordingly, the parties are working toward establishing a mutually agreeable set of

measures to ensure that any remaining privileged communications within the 35,000 emails

are removed from the database.

       The government submits that it cannot realistically complete any meaningful review

of the 42,000 emails in time for a trial date of January 28, 2019. The sheer volume of

emails—42,000—by itself makes any meaningful review within that time period

infeasible. In addition, the parties must agree on a set of measures to prevent disclosure of

privileged communications, and the government must then employ those measures before

resuming its access to the database of 42,000 emails. Finally, all of the above must take

place while simultaneously preparing for a January 28, 2019 trial, including meeting with

witnesses, a large number of whom are located outside Minnesota. Accordingly, a

continuance of the trial is necessary to permit the government sufficient time to finalize

and implement measures to prevent disclosure of privileged communications that exist

within the 42,000 emails, complete a meaningful review of the emails that remain after any

privileged communications have been removed, and complete preparations for trial.

       Although a continuance of a couple of months would be provide enough additional

time, the parties respectfully request a longer continuance, until October 21, 2019, or as

soon thereafter as is convenient for the Court. One of the lead attorneys for Mr. Adams

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will be on maternity leave and therefore will be unavailable to prepare for and participate

in a trial here in Minnesota during the spring and summer months. Accordingly, the parties

request that the Court set the trial in this case for October 21, 2019, or as soon thereafter

as is convenient for the Court.

       The parties respectfully submits that granting the requested continuance would

serve the ends of justice and outweigh the best interests of the public and the defendant in

a speedy trial. See 18 U.S.C. § 3161(h)(7)(A) and (B). Importantly, no time has yet elapsed

under the Speedy Trial Act because the Court previously granted requests to exclude time

under the Speedy Trial Act from March 31, 2017 (the date of arraignment) through October

9, 2018, (see February 13, 2017 Order [Docket No. 108]), and from October 9, 2018,

through January 28, 2019, (see July 6th, 2018 Order [Docket No. 169]). Concurrent with

the filing of this joint motion, Mr. Adams will be submitting a new statement of facts

requesting that the period of time from the date of this motion through the new trial date

requested by the parties, October 21, 2019, also be excluded from the Speedy Trial Act.

Therefore, the continuance sought by the parties will not result in any violation of the

Speedy Trial Act.

       For all the reasons stated above, the parties respectfully request a continuance of the

trial date until October 21 2019, or as soon thereafter as is convenient for the Court. The

parties also request that the deadline for the filing of all trial documents be reset to a date

approximately two weeks prior to the trial date.




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                                  Respectfully Submitted,

Dated: December 17, 2018          ERICA H. MacDONALD
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